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   6

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       BANK OF AMERICA, N.A.
   8
                                      UNITED STATES BANKRUPTCY COURT
   9
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  10
           In re                                                        Case No. 8:18-bk-12471-TA
  11
           GURPREM KANG and SURINDER KANG,                              Chapter 13
  12
                                                                        OBJECTION TO CONFIRMATION OF
  13                       Debtors.                                     CHAPTER 13 PLAN
  14                                                                    341(a) MEETING:
                                                                        DATE:       August 7, 2018
  15                                                                    TIME:       11:00 AM
                                                                        PLACE:      RM 1-154, 411 W Fourth St.,
  16                                                                                Santa Ana, CA 92701
  17                                                                    CONFIRMATION HEARING:
                                                                        DATE:    September 29, 2018
  18                                                                    TIME:    1:30 PM
                                                                        CTRM:    5B
  19

  20

  21               BANK OF AMERICA, N.A.1 (hereinafter “Creditor”), secured creditor of the above-entitled

  22 debtors, Gurprem Kang and Surinder Kang (hereinafter “Debtors”), hereby objects to the Chapter 13

  23 Plan filed by Debtors in the above-referenced matter. The objection is based on Creditor’s Proof of

  24 Claim No. 7 and the authorities cited herein and on such additional submissions and argument as

  25 may be presented at or before the confirmation hearing.

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       1
  27    This Objection to Confirmation of Chapter 13 Plan shall not constitute a waiver of the within party’s right to receive
       service pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed. R. Bankr. P. 7004, notwithstanding
  28   Aldridge Pite, LLP’s participation in this proceeding. Moreover, the within party does not authorize Aldridge Pite, LLP,
       either expressly or impliedly through Aldridge Pite, LLP’s participation in this proceeding, to act as its agent for purposes
       of service under Fed. R. Bankr. P. 7004.
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   1                                                1) INTRODUCTION

   2              Creditor respectfully requests that the Court deny confirmation of the Debtors’ Chapter 13

   3 Plan as it fails to properly provide for Creditor’s claim. Specifically, the Debtors’ Chapter 13 Plan

   4 fails to provide for ongoing post-petition payments as required under the loan documents, fails to

   5 acknowledge outstanding arrears and purports to improperly modify Creditor’s claim. For the

   6 reasons set forth herein, the Court should deny confirmation of the Debtors’ Chapter 13 Plan.

   7                                           2) STATEMENT OF FACTS

   8              1.      Creditor’s claim is evidenced by a promissory note executed by Debtors Gurprem

   9 Kang and Surinder Kang (collectively the “Borrowers” or “Debtors”), and dated April 27, 2007, in

  10 the original principal sum of $200,000.00 (the "Note"). A copy of the Note is attached to Creditor’s

  11 proof of claim no. 7 as filed on the Court’s claims register (“CCR”) in the instant bankruptcy case

  12 and incorporated herein by reference.

  13              2.      The Note is secured by a deed of trust (the “Deed of Trust2”) encumbering the real

  14 property commonly known as 7011 E VILLANUEVA DR, ORANGE, California 92867 (the

  15 “Subject Property”). A copy of the Deed of Trust is attached to Creditor’s proof of claim no. 7 as

  16 filed in the instant bankruptcy case and incorporated herein by reference

  17              3.      On July 9, 2018, Debtors filed the instant Chapter 13 bankruptcy petition in the

  18 United States Bankruptcy Court for the Central District of California, Santa Ana Division, and were

  19 assigned case number 8:18-bk-12471-TA.

  20              4.      On August 6, 2018 the Debtors filed their Chapter 13 Plan (the “Plan”) providing for

  21 monthly payments to the Trustee in the total amount of $150.00, for nine (9) months, then

  22 $837,000.00 for month ten (10). Debtors’ Plan does not provide for on-going monthly payments or

  23 arrearage payments on Creditor’s claim. Debtors instead propose to pay Creditor a total of

  24 $176,044.00, including a 9.09% interest rate, on Creditor’s claim presumably in month ten (10).

  25              5.      On September 4, 2018, Creditor filed its proof of claim (the “Proof of Claim”)

  26 secured by the Subject Property with a total outstanding balance in the amount of $176,650.36, and a

  27

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       2
           The Note and Deed of Trust are collectively referred to herein as the “Subject Loan.”
                                                              -2-                              CASE NO. 8:18-bk-12471-TA
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   1 pre-petition arrearage claim of $17,245.50. See CCR Claim No. 7.

   2                                            3) ARGUMENT

   3          A.        DEBTORS’ CHAPTER 13 PLAN CANNOT BE CONFIRMED AS
                        PROPOSED.
   4

   5          The provisions of 11 United States Code (“US.C.”) Section 1325 set forth the requirements

   6 for the Court to confirm a Chapter 13 Plan. The burden is on the debtor to demonstrate that the plan

   7 meets the conditions essential for confirmation. Warren v. Fidelity & Casualty Co. of N.Y. (In re

   8 Warren), 89 B.R. 87, 93 (B.A.P. 9th Cir. 1988). For the reasons detailed herein, the Debtors fail to

   9 meet this burden.

  10               1. Debtors’ Chapter 13 Plan Should Not Be Confirmed Because It Fails to Provide
                      for Ongoing Post-Petition Payments.
  11

  12          Section 1322(b)(5) of the Bankruptcy Code provides for the maintenance of post-petition

  13 payments on a secured or unsecured claim on which the final payment is due after the proposed final

  14 payment under the plan. 11 U.S.C. § 1322(b)(5). Here, the loan relating to Creditor’s secured claim

  15 matures May 2, 2032, which is after the term of the Debtors’ Plan, yet the Plan makes no provision

  16 for ongoing post-petition payments. As the Debtors’ Plan fails to provide for the maintenance of

  17 post-petition payments on Creditor’s secured claim, it cannot be confirmed as proposed.

  18               2.   Debtors’ Chapter 13 Plan Cannot Be Confirmed Because it Does Not Provide
                        for the Full Value of Creditor’s Claim.
  19

  20          11 U.S.C. Section 1325(a)(5)(B)(ii) requires a debtor’s Chapter 13 Plan to distribute at least

  21 the allowed amount of a creditor’s secured claim. See 11 U.S.C. § 1325(a)(5)(B)(ii). Furthermore,

  22 the requirement that a debtor provide for the full value of a creditor’s secured claim is mandatory for

  23 plan confirmation. See Barnes v. Barnes (In re Barnes), 32 F.3d 405, 407 (9th Cir. 1994); see also In

  24 re Lucas, 3 B.R. 252, 253 (Bankr. S.D. Cal. 1980)(“In order to confirm any Chapter 13 Plan, the

  25 court must be satisfied…that the plan meets all the requirements of § 1325(a).”). The burden lies

  26 with the debtor in demonstrating compliance with section 1325(a). Chinichian v. Campolongo (In re

  27 Chinichian), 784 F.2d 1440 (9th Cir. 1986).

  28          The Debtors’ Plan cannot be confirmed as proposed because it fails to properly provide for

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   1 the cure Creditor’s pre-petition arrears or ongoing monthly post-petition payments. As previously

   2 discussed, Creditor’s claim for pre-petition arrears is in the total amount of $17,245.50. See, Claim

   3 No. 7. However, the Debtors’ Chapter 13 Plan fails to provide for payment of the pre-petition arrears

   4 on Creditor’s secured claim under the assumption that the Debtors will sell the property and pay the

   5 claim in full. As the Debtors’ Plan fails to provide for a cure of Creditor’s pre-petition arrears, fails

   6 to satisfy 11 U.S.C. ' 1325(a)(5)(B)(ii) and cannot be confirmed as proposed.

   7              3. Debtors’ Chapter 13 Plan Cannot Be Confirmed Because It Does Not Promptly
                     Cure Creditor’s Pre-Petition Arrears as Required Under 11 U.S.C. § 1322(b)(5).
   8

   9          Section 1322(b)(5) of the Bankruptcy Code provides for the curing of any default on a

  10 secured or unsecured claim on which the final payment is due after the proposed final payment under

  11 the plan. Creditor’s secured claim consists of $17,245.50 in pre-petition arrears, however, Debtors’

  12 Plan provides for the cure of only $287.43 in arrears. As Debtors have not field their schedules it is

  13 unclear whether they have disposable income to provide for an increase to their monthly payment

  14 through the Chapter 13 Plan in the amount of $287.43 in order to cure Creditor's pre-petition arrears

  15 over a period not to exceed sixty (60) months. As the Debtors’ Plan fails to promptly cure Creditor’s

  16 pre-petition arrears, it cannot be confirmed as proposed.

  17              4. The Debtors’ Chapter 13 Plan Cannot Be Conformed Because It attempts to
  18                 Impermissibly Modify the Rights of a Creditor Holding a Claim Secured by the
                     Debtors’ Principal Residence.
  19

  20          11 U.S.C. §1322(b)(2) provides that a plan may modify the rights of holders of secured

  21 claims, other than a claim secured only be a security interest in real property that is the debtor’s

  22 principal residence. 11 U.S.C. § 506(a) provides that an allowed claim of a creditor secured by a lien

  23 on property in which the estate has an interest…is a secured claim to the extent of the value of such

  24 creditor’s interest in the estate’s interest in such property.

  25          The Debtors’ Plan proposes to withhold payment from Creditor for ten (10) months and

  26 thereafter pay a reduced value of $176,044.00. However as discussed above, Creditor is entitled to

  27 ongoing monthly payments pursuant to the loan documents. The Debtors are prohibited from

  28 modifying Creditor’s claim because Creditor is informed and believes that the Subject Property is the
       Debtors’ principal residence. The Debtors’ bankruptcy petition lists the Subject Property as the
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   1 Debtors’ residence and the Subject Property is listed as the Debtor’s service address on PACER.

   2            As it appears that the Subject Property was the Debtors’ principal residence at the time of

   3 execution of the loan documents and at the time of the bankruptcy petition date, section 1322(b)(2)

   4 of the Bankruptcy Code prohibits the Debtors from modifying the terms of Creditor’s claim. Based

   5 upon the foregoing, Creditor requests that the Court deny confirmation of the Debtor’s Plan.

   6
                WHEREFORE, Creditor respectfully requests:
   7            i)       That confirmation of the Debtors’ Chapter 13 Plan be denied;
   8
                ii)      Alternatively, that the Plan be amended to reflect that Creditor maintains a fully
   9
       secured claim with ongoing monthly installment payments to be paid to Creditor, including the cure
  10
       of arrears, and
  11
                iii)     For such other and further relief as this Court deems just and proper.
  12
                                                         Respectfully submitted,
  13
       Dated:   September 6, 2018                        ALDRIDGE PITE, LLP
  14

  15
                                                   By:
  16                                                     JAMIE D. HANAWALT (SBN 309934)
                                                         Attorneys for BANK OF AMERICA, N.A.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                       4375 Jutland Drive, Suite 200 P.O. Box 17933 San Diego, CA 92177-0933


A true and correct copy of the foregoing document entitled (specify): Objection to Confirmation will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 7, 2018        I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Debtor’s Attorney: James D. Hornbuckle jdh@dixonlawcorporation.com
Chapter 13 Trustee: Amrane (SA) Cohen (TR) efile@ch13ac.com
U.S. Trustee: ustpregion16.sa.ecf@usdoj.gov
                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 7, 2018                     I served the following persons and/or entities at the last known addresses in
this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in theUnited
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declarationthat
mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtors:
Gurprem Kang
Surinder Kang
7011 E. Villanueva Drive
Orange, CA 92867

Presiding Judge:
Honorable Theodor Albert
Central District of California - Santa Ana Division
Ronald Reagan Federal Building
411 West Fourth Street, Suite 5085/Courtroom 5B
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 7, 2018                  CIARA M. REBOYA                                             /s/ CIARA M. REBOYA
 Date                                  Printed Name                                             Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
